              Case 1:21-cr-00085-CRC Document 12 Filed 01/29/21 Page 1 of 1




                              IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA                      )
                                              )
         v.                                   )      CRIMINAL NO. 21-mj-00051(GMH)
                                              )
                                              )
SIMONE GOLD                                   )

                                     NOTICE OF APPEARANCE

         COMES NOW Kira Anne West and enters her appearance as retained counsel in the

above captioned case.

                                              Respectfully submitted,

                                              KIRA ANNE WEST

                                      By:              /s/
                                              Kira Anne West
                                              D.C. Bar No. 993523
                                              712 H St. N.E.
                                              Unit 509
                                              Washington D.C., 20002
                                              kiraannewest@gmail.com

                                     CERTIFICATE OF SERVICE

         I hereby certify on the 29th day of January, 2021 a copy of same was delivered to the

parties of record, by email pursuant to the Covid standing order and the rules of the Clerk of

Court.

                                                      /S/
                                            Kira Anne West
